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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7     CASIMIRO JOSE CANHA CAVACO                           Case No. 24-cv-04471-EMC
                                         DIAS,
                                   8
                                                         Petitioner,                          ORDER RE RESPONDENT’S LETTER
                                   9                                                          OF APRIL 17, 2025
                                                  v.
                                  10
                                         RULA NABIL KHOURY CAVACO DIAS,                       Docket No. 194
                                  11
                                                         Respondent.
                                  12
Northern District of California
 United States District Court




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                                  14           Respondent has filed a letter, asking that the Court hold Petitioner in contempt for

                                  15   violating its order at Docket No. 185 (implicitly, including its minute order at Docket No. 165)

                                  16   and its order at Docket No. 193. Respondent contends that Petitioner has violated the orders

                                  17   because he is contesting the jurisdiction of the California state court for the domestic violence

                                  18   proceedings.

                                  19           The Court anticipates that Petitioner will argue that he should not be held in contempt

                                  20   because: he did not violate any order, he substantially complied with the orders, and/or any failure

                                  21   to comply was based on a good faith interpretation of the orders. See Docket No. 193 (Order at 1)

                                  22   (taking note of the same arguments made by Petitioner in conjunction with a different letter filed

                                  23   by Plaintiff). Instead of engaging in a second debate over what exactly the Court’s prior orders

                                  24   required, the Court finds it preferable to move matters forward substantively. The Court shall not,

                                  25   at this juncture, hold Petitioner in contempt of a prior order, nor shall it order any of the relief,

                                  26   financial or otherwise, requested by Respondent. However, so that the record is clear, moving

                                  27   forward, Petitioner shall submit to the jurisdiction of all proceedings related in any way to and

                                  28   shall adjudicate substantively all custody, visitation, domestic violence, and/or any other related
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                                   1   proceedings in California state court. The Court’s dismissal of the instant action (at Petitioner’s

                                   2   request) was based on the understanding that Petitioner agreed to substantively litigate all such

                                   3   proceedings in California state court. He therefore agreed to forego raising procedural challenges

                                   4   in state court, such as a lack of jurisdiction. Petitioner is forewarned that failure to comply with

                                   5   this order could give rise to contempt proceedings.

                                   6          Respondent suggests that counsel for Petitioner, Mr. Min, may withdraw as counsel in the

                                   7   near future. If so, complete contact information for Petitioner, including a telephone number

                                   8   and an email address shall promptly be provided to the Court. Withdrawal of representation

                                   9   in matters before this Court requires approval by this Court.

                                  10          This order disposes of Docket No. 194.

                                  11

                                  12          IT IS SO ORDERED.
Northern District of California
 United States District Court




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                                  14   Dated: April 18, 2025

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                                  16                                                    ______________________________________
                                                                                         EDWARD M. CHEN
                                  17                                                     United States District Judge
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